  Case 22-17152-JKS                Doc 49 Filed 01/13/23 Entered 01/14/23 00:17:14                                 Desc Imaged
                                        Certificate of Notice Page 1 of 5
Form 137 − aplccmpn

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 22−17152−JKS
                                         Chapter: 11
                                         Judge: John K. Sherwood

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Empire Holding Company, LLC
   136 Mehrhof Rd
   Little Ferry, NJ 07643−2125
Social Security No.:
   xxx−xx−8077
Employer's Tax I.D. No.:


                      NOTICE OF HEARING ON APPLICATION FOR COMPENSATION

      NOTICE IS HEREBY GIVEN that there will be a hearing held before the honorable John K. Sherwood on:

Date:     2/2/23
Time:     10:00 AM
Location: Courtroom 3D, Martin Luther King, Jr. Federal Building, 50 Walnut Street, Courtroom 3D, Newark, NJ
07102
for the purpose of acting on applications for compensation. Attendance by debtor(s) or creditors is welcome, but not
required.

      The following applications for compensation have been filed:

APPLICANT(S)
Fazzio Law Offices, Special Counsel

COMMISSION OR FEES
$7,500.00

EXPENSES
$0.00

If this is a chapter 13 case, the fees and expenses awarded:

                will not reduce the amount to be paid to general unsecured
                creditors under the plan.

                will reduce the amount to be paid to general unsecured
                creditors under the plan as follows:

Debtor(s) or other parties who wish to object must file an objection not later than 7 days prior to the hearing date.
Objections must be filed with the Court and served on the applicant and other interested parties.

      An appearance is not required on an application for compensation unless an objection is filed.
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Dated: January 11, 2023
JAN:

                                                Jeanne Naughton
                                                Clerk
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-17152-JKS
Empire Holding Company, LLC                                                                                            Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jan 11, 2023                                               Form ID: 137                                                              Total Noticed: 40
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 13, 2023:
Recip ID                   Recipient Name and Address
db                         Empire Holding Company, LLC, 136 Mehrhof Rd, Little Ferry, NJ 07643-2125
aty                    +   Norgaard O'Boyle & Hannon, Norgaard O'Boyle & Hannon, 184 Grand Avenue, Englewood, NJ 07631-3578
sp                     +   Fazzio Law Offices, Fazzio Law Office, 5 Marine View Plaza, Suite 218, Hoboken, NJ 07030-5722
r                      +   Jack Koumbis, Keller Williams Town Life, 25 Washington Street, Tenafly, NJ 07670-2027
cr                     +   TD Bank, N.A., c/o Saldutti Law Group, 1040 N. Kings Hwy., Suite 100, Cherry Hill, NJ 08034-1925
519701146              #   Barron Staffing, 1275 Bloomfield Ave Ste 16, Fairfield, NJ 07004-2735
519701147                  Beihl & Beihl, PO Box 87410, Carol Stream, IL 60188-7410
519767227                  Cliffside Medical, LLC, 663 Palisade Ave, Cliffside Park, NJ 07010-3012
519701148                  Empire Little Ferry, LLC, 136 Mehrhof Rd, Little Ferry, NJ 07643-2125
519701149                  Fedway, PO Box 651, Basking Ridge, NJ 07920-0651
519701150                  Hartford Billing Company, 3600 Wiseman Blvd, San Antonio, TX 78251-4323
519701151                  Hyun Sook Leeoh, 327 8th St # A, Palisades Park, NJ 07650-2201
519767226                  Jersey National/Capitol Wine&Liquor Co., c/o Paul N. Weeks, Esq., Raff Masone & Weeks, PA, 1083 Avenue C, Bayonne, NJ
                           07002-3345
519701152                  Joe Landscaping, 183 Mehrhof Rd, Little Ferry, NJ 07643-2140
519701153                  Kohler, 150 Wagaraw Rd, Hawthorne, NJ 07506-2706
519701154              +   Lakeview Bakery, 308 Lakeview Ave, Clifton, NJ 07011-4170
519767228                  Little Ferry Borough Municipal Court, 215 Liberty St, #217, Little Ferry, NJ 07643-1726
519701155                  Marlin Capital Solutions, PO Box 13604, Philadelphia, PA 19101-3604
519701157                  NJ Division of Fire Safety, PO Box 809, Trenton, NJ 08625-0809
519701156                  Napoleon T. Yfantis, 221 77th St, North Bergen, NJ 07047-5719
519701159                  P. Pascal,Inc., PO Box 347, Yonkers, NY 10703-0347
519701160                  PSE&G - Bankruptcy Dept., PO Box 709, Newark, NJ 07101-0709
519701163                  Small Business Administration, 2 Gateway Ctr Ste 1002, Newark, NJ 07102-5006
519701164                  State of NJ-Division of Taxation, Revenue Processing Center, PO Box 193, Trenton, NJ 08646-0193
519701165                  Susquehanna Salt Lakes, LLC, 136 E South Temple Ste 1400, Salt Lake City, UT 84111-1143
519701167                  The Jayson Company, 2159 Stanley Ter, Union, NJ 07083-4371
519701168                  The Knot Worldwide, PO Box 32177, New York, NY 10087-2177
519701169                  Todd H. Henderson, Esq., US Small Business Administration, 2 Gateway Ctr Ste 1002, Newark, NJ 07102-5006
519701170                  Travelers, 7 S Warren St, Dover, NJ 07801-4582
519796218              +   US Bank as Cust for Tower DB XII Trust 2022-1, PO Box 645404, Cincinnati, OH 45264-5404
519701171              +   Verizon, PO Box 16801, Newark, NJ 07101-6801

TOTAL: 31

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Jan 11 2023 20:52:00      Dist Dir of IRS, Insolvency Function, PO Box 724,
                                                                                                                  Springfield, NJ 07081-0724
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Jan 11 2023 20:53:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
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District/off: 0312-2                                                 User: admin                                                             Page 2 of 3
Date Rcvd: Jan 11, 2023                                              Form ID: 137                                                          Total Noticed: 40
smg                      + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                     Jan 11 2023 20:53:00     United States Trustee, Office of the United States
                                                                                                              Trustee, 1085 Raymond Blvd., One Newark
                                                                                                              Center, Suite 2100, Newark, NJ 07102-5235
519701145                   Email/Text: amartinez@aceendico.com
                                                                                     Jan 11 2023 20:52:00     ACE Endico, 80 International Blvd, Brewster, NY
                                                                                                              10509-2344
519701158                   Email/Text: bankruptcy@ondeck.com
                                                                                     Jan 11 2023 20:53:00     On Deck Capital, Inc., 1400 Broadway, New York,
                                                                                                              NY 10018-5300
519701162                   Email/Text: bankruptcynotices@sba.gov
                                                                                     Jan 11 2023 20:52:00     Small Business Administration, PO Box 3918,
                                                                                                              Portland, OR 97208-3918
519701166                   Email/Text: bankruptcy@td.com
                                                                                     Jan 11 2023 20:53:00     TD Bank, 1 Royal Rd, Flemington, NJ
                                                                                                              08822-6001
519788814                + Email/Text: ndlrc.legal@sba.gov
                                                                                     Jan 11 2023 20:52:00     U.S. Small Business Administration, 200 West
                                                                                                              Santa Ana Blvd., Ste 740, Santa Ana, CA
                                                                                                              92701-7534
519701172                   Email/Text: rmcbknotices@wm.com
                                                                                     Jan 11 2023 20:53:00     Waste Management, 107 Silvia St, Ewing, NJ
                                                                                                              08628-3200

TOTAL: 9


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID            Bypass Reason Name and Address
519768704                         USBKCUST/PC8 Firsttrust
cr                  *+            Napoleon T Yfantis, 221 77th Street, North Bergen, NJ 07047-5719
519709131           *+            Department of Treasury, Internal Revenue Service, P O Box 7346, Philadelphia, PA 19101-7346
519701161           ##            Saldutti Law Group, 800 Kings Hwy N Ste 300, Cherry Hill, NJ 08034-1511

TOTAL: 1 Undeliverable, 2 Duplicate, 1 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 13, 2023                                           Signature:          /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 10, 2023 at the address(es) listed
below:
Name                                Email Address
Brian Gregory Hannon
                                    on behalf of Spec. Counsel Fazzio Law Offices bhannon@norgaardfirm.com
                                    sferreira@norgaardfirm.com;184grandno@gmail.com;kcimmino@norgaardfirm.com;dtakach@norgaardfirm.com

Brian Gregory Hannon
                                    on behalf of Debtor Empire Holding Company LLC bhannon@norgaardfirm.com,
                                    sferreira@norgaardfirm.com;184grandno@gmail.com;kcimmino@norgaardfirm.com;dtakach@norgaardfirm.com

Brian J. Schaffer
                                    on behalf of Creditor TD Bank N.A. bschaffer@slgcollect.com, kcollins@slgcollect.com
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District/off: 0312-2                                      User: admin                                               Page 3 of 3
Date Rcvd: Jan 11, 2023                                   Form ID: 137                                            Total Noticed: 40
Rebecca K. McDowell
                          on behalf of Creditor TD Bank N.A. rmcdowell@slgcollect.com, anovoa@slgcollect.com

Robin I. London-Zeitz
                          on behalf of Creditor USBKCUST/PC8 Firsttrust Bank rzeitz@zeitzlawfirm.com
                          gzeitz@zeitzlawfirm.com;cdillon@zeitzlawfirm.com;lfossi@zeitzlawfirm.com

Thaddeus R. Maciag
                          on behalf of Creditor Napoleon T Yfantis MaciagLaw1@aol.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 7
